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   Andre Miller, Nichol Denison, Maureen Healy, Christopher David,
   Duston Obermeyer, James McNulty, Black Millennial
   Movement, and Rose City Justice, Inc.



                                     UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          PORTLAND DIVISION


MARK PETTIBONE, an individual, et al.,              Case No.: 3:20-cv-01464-YY

                       Plaintiffs,                  ORDER OF DISMISSAL WITH
                                                    PREJUDICE
         v.

DONALD J. TRUMP, in his official
capacity, et al.,

                       Defendants.



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         This matter having come before the Court on Plaintiffs Mark Pettibone, Fahiym Acuay

(a.k.a. Mac Smiff), Andre Miller, Nichol Denison, Maureen Healy, Christopher David, Duston

Obermeyer, and James McNulty (collectively, “Plaintiffs”) and Defendant United States of

America’s Stipulated Motion for Order of Dismissal with Prejudice (“Stipulated Motion”),

                    IT IS HEREBY ORDERED that the Stipulated Motion is granted and:

          (i)     Plaintiffs’ claims in the above-titled action are dismissed with prejudice;

          (ii)     Pending motions other than the Stipulated Motion, if any, are denied as moot; and

          (iii)    Each party shall bear its own costs and attorney’s fees.


         DATED: January 20, 2025.


                                                 Michael H. Simon
                                                 United States District Judge

Submitted by:

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